Case 3:19-cr-00166-TJC-LLL Document 74 Filed 01/16/24 Page 1 of 1 PagelD 366

U.S. Department of Justice PROCESS RECEIPT AND RETU
servic rOcess Mar.

United States Marshals Service

PLAINTIFF COURT CASE NUMBER
UNITED STATES OF AMERICA 3:19-cr-166-TJC-LLL
DEFENDANT TYPE OF PROCESS
David Lane Byrns Execution of FOF

SERVE RECEIVED

AT ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code) | By USMS M/FL at 11:43 am, Jan fas 2024

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO raf

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be
7 served with this Form 285
Anita M. Cream, AUSA
: Number of parties to be
U.S. Attorney's Office served in this case
400 North Tampa Street, Suite 3200

Check for service

Tampa, Florida 33602 on U.S.A

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,

All Telephone Numbers, and Estimated Times Available for Service):

Pursuant to the attached Final Order of Forfeiture, please deposit the $547,821.83 in proceeds from sale of 4451 NE 27
Avenue, Lighthouse Point, FL into the AFF.

CATS ID: 19-FBI-007065

Signature of Attomey otb€/Originator requesting service on behalf of TELEPHONE NUMBER DATE
igna ure oO: OmMey O' FOriginator requesting service on 0: & PLAINTIFF
JEFEND/ I
(] DEFENDANT (813) 274-6000 | ) { au

~ SPACE BHLOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
T acknowledge receipt for the total | Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Date
number of process indicated Origin Serve
(Sign only for USM 285 if more ;
than one USM 285 is submitted) 1 No. 1 8 No. 1 8 mn iM t see

I hereby certify and retum that 1 [fave personally served , (] have legal evidence of service, [] have executed as shown in "Remarks", the process described on the
individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

(1 thereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)

Name and title of individual served (ifnot shown above) Date Time Cc am
HW izJ2024 Cl pm
Address (complete only different than shown above) Signature of U.S. Marshal or Deputy

Yok 7 (ours

Costs shown on attached USMS Cost Sheet >>

REMARKS

Pursuant to the Final Order of Forfeiture, $547,821.83 was deposited into the AFF on 01/04/24.

Form USM-285
Rev. 03/21

